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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )      Case No. 22 CR 208
             vs.                               )
                                               )      Honorable Matthew F. Kennelly
JOSEPH J. CIPOLLA, JR.                         )

                                PROTECTIVE ORDER

      Upon consideration of the government’s unopposed motion pursuant to

Federal Rule of Criminal Procedure 16(d) for entry of a protective order governing

discovery in this case, the Court enters the following Protective Order:

      1.     All materials provided to the defendant by the United States and

all materials produced to defendant by third parties, in preparation for, or in

connection with the proceedings in this case (collectively, “the materials”) are subject

to this protective order and may be used by defendant and defendant’s counsel

(defined as counsel of record in this case) solely in connection with the defense of

this case, and for no other purpose, and in connection with no other proceeding,

without further order of this Court.

      2.     Defendant, defendant’s counsel and the government shall not disclose

the materials or their contents directly or indirectly to any person or entity other

than persons employed to assist in the defense, persons who are interviewed as

potential witnesses, counsel for potential witnesses, and other persons to whom

the Court may authorize disclosure (collectively referred to as “ authorized

persons”). Potential witnesses and their counsel may be shown copies of the
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materials as necessary to prepare the defense, but may not retain copies without

prior permission of the Court.

      3.     Defendant, defendant’s counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case by defendant, defendant’s counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

      4.     Defendant, defendant’s counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents

of the materials, other than to authorized persons, and all such notes or records are

to be treated in the same manner as the original materials.

      5.     Before providing materials to an authorized person, defendant or

defendant’s counsel must provide the authorized person with a copy of this Protective

Order.

      6.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the

United States; or (3) retained in defense counsel’s case file. The Court may require

a certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be




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disseminated or used in connection with any other matter without further order of

the Court.

      7.     To the extent any material is produced by the United States to

defendant or defendant’s counsel by mistake, the United States shall have the

right to request the return of the material and shall do so in writing. Within five

days of the receipt of such a request, defendant and/or defendant’s counsel shall

return all such material if in hard copy, and in the case of electronic materials, shall

certify in writing that all copies of the specified material have been deleted from

any location in which the material was stored.

      8.     The restrictions set forth in this Protective Order do not apply to

documents that are, or become, part of the public court record, including documents

that have been received in evidence at trial or in any other court proceeding.

      9.     The restrictions set forth in this Protective Order also do not limit the

government’s or the defendant’s use of discovery materials in judicial proceedings in

this case. However, notwithstanding the terms of this Protective Order, the use of

the materials may be limited by other law, including, but not limited to, the

provisions of Federal Rule of Criminal Procedure 49.1 and 18 U.S.C. § 3771.




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      10.    Nothing contained in this Protective Order shall preclude a party from

applying to this Court for relief from the provisions of this Protective Order.



                                               ENTER:




                                               ________________________________
                                               MATTHEW F. KENNELLY
                                               United States District Court Judge
      Date: May 20, 2022




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